110 F.3d 59
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Bruce Alfonso HATCHER, Plaintiff-Appellant,v.PRINCE WILLIAM-MANASSAS DETENTION CENTER'S MEDICALDEPARTMENT;  Doctor Adams, Defendants-Appellees.
    No. 96-7424.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 27, 1997.Decided April 3, 1997.
    
      Bruce Alfonso Hatcher, Appellant Pro Se.
      Before RUSSELL, LUTTIG, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Hatcher v. Prince William-Manassas Detention Ctr., No. CA-96-1029 (E.D.Va. Aug. 5, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    